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               EXHIBIT B
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                                                                                                  US008215418B2


(12) United States Patent                                                         (10) Patent N0.:              US 8,215,418 B2
       Radford                                                                    (45) Date of Patent:                    *Jul. 10, 2012

(54)    EXPANDABLE REAMER APPARATUS AND                                      (56)                  References Cited
        RELATED METHODS
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(75)    Inventor:     Steven R. Radford, The Woodlands, TX                          1,470,545 A    10/1923 Rossignol
                      (Us)                                                          1,678,075 A     7/1928 Phipps
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(73) Assignee: Baker Hughes Incorporated, Houston,                                                    (Continued)
               TX (U S)
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(*)     Notice:       Subject to any disclaimer, the term of this            EP             0707130 A2 4/1996
                      patent is extended or adjusted under 35                                         (Continued)
                      U.S.C. 154(b) by 0 days.
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                      Th1s patent 1s subject to a termmal d1s
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                                                                             tiation Between Tools, Andergauge Drilling Systems, WWW.
(21) App1_ NO; 13/213,641                                                    andergauge.c0m., 2001 (4 pages).
                                                                                                       C   t'   d
(22)    Filed:        Aug. 19, 2011                                                                   ( on “we )
                                   _           _         _                   Primary Examiner * William P Neuder
(65)                       Pnor Pubhcatlon Data                              (74) Attorney, Agent, or Firm * TraskBritt
        US 2011/0297443 A1                         Dec. 8,2011               (57)                    ABSTRACT
                   Related US Application Data                               An expandable reamer apparatus and methods for reaming a
(63) Continuation of application No. 12/749,884, ?led on                     borehole’ Wherem a laterally movable blade Qamed by _a
        Man 30, 2010’ HOW Pat NO_ 8,020,635’ Which iS a                      tubularbody may be selectlvely pos1t1oned at an mWardpos1
        Continuation of application NO_ 11/875 241 ?led on                   tion and an expanded position. The laterally movable blade,
        Oct 19’ 2007’ now Pat No' 7,721,853’ which iS 8                      held inwardly by blade-biasing elements, may be forced out
        cominuation of application NO_ 11/413,615, ?led on                   Wardly by drilling ?uid selectively alloWed to communicate
        Apt 27’ 2006, HOW Pat NO_ 7,308,937, Which iS a                      therewith by Way of an actuation sleeve disposed Within the
        Continuation of application NO_ 105243952, ?led on                   tubular body. Altematlvely, a separatlon element may trans
        Ju1_ 22 2003 HOW Pat NO 7 036 611_                                   mit force or pressure from the drilling ?uid to the movable
             _ j       s       _       _             s           3           blade. Further, a chamber in communication With the mov
(60)    PrOVlslOnal aPPhCaUOn NO- 60/399,531’ ?led on Jul                    able blade may be pressurized by Way of a doWnhole turbine
        30, 2002-                                                            or pump. A ridged seal Wiper, compensator, movable bearing
                                                                             pad, ?xed bearing pad preceding the movable blade, or
(51) Int‘ Cl‘                                                                adjustable spacer element to alter expanded blade position
       E21B 10/32                    (200601)                                may be included Within the expandable reamer. In addition, a
(52)   US. Cl. ......................... .. 175/57; 175/269; 175/406         drilling ?uid pressure response indicating an Operational
(58)    Field Of Classi?cation Search .................. .. 175/57,          Characteristic of the expandable reamer may be generated,
                                  175/267, 269, 280, 291, 406
        See application ?le for complete search history.                                    20 Claims, 24 Drawing Sheets
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             FIG. 1A                                     FIG. 1 B
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                                   FIG. 1C
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                                   FIG. 1E
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                                                   425   /1 \\_/415
             FIG. 1F                                 FIG. 16
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                                                     FIG. 2B
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                              FIG. 3
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              FIG. 4A                                    FIG. 4B
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                              FIG. 5C
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                            FIG. 7A
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                                   FIG. 8A
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                                   FIG. 8B
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                                                    FIG. 9B
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                              FIG. 10
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